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United States District Court
For the District of Columbia
____________________________________
                                    )
UNITED STATES OF AMERICA,           )
                                    )
               v.                   )
                                    )
EDWARD JACOB LANG,                  )
                                    )
                    Defendant.      )
____________________________________)

EDWARD LANG’S SUPPLEMENTAL MEMORANDUM IN SUPPORT OF
              MOTION TO TRANSFER VENUE

        NOW COMES, Defendant Edward Jacob Lang, by and through undersigned

counsel, files this Supplement in support of his Motion for Change of Venue, which

also seeks to overturn, modify and supplement his previous motion to transfer venue.

Overall, Lang simply requests he be tried by an impartial jury as guaranteed by the

Fifth and Sixth Amendments to the United States Constitution.

   I.    BACKGROUND

        In support of this application, Defendant states that he commissioned Triton

Polling and Research to conduct a study of DC residents regarding potential bias.

The poll respondents not only expressed bias against January 6 defendants – but also

bias against anyone (even those who were not charged) that was present at the

Capitol on January 6, 2021.



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       Simply put, the results of this study solidify Lang’s arguments that he cannot

receive a fair trial in the District of Columbia, thus requiring a mandatory change of

venue for his trial.

       The issue of potential bias and its impact on a fair trial is a complex legal

concern. Bias can arise if a significant portion of the community holds strong,

predetermined views that might impact their ability to approach the case with

impartiality. When there is extensive media coverage, public discourse, and official

reports characterizing events in specific ways, it can raise serious questions about

the impartiality of a jury pool. Setting aside preconceived notions or biases can be

challenging, especially when individuals hold strong opinions on a particular

subject.

       While voir dire and jury screening processes aim to identify potential biases

to select jurors who can be impartial, human psychology acknowledges that

individuals may still be influenced by their existing beliefs. Based on the results of

this study, it should be clear that no amount of voir dire can overcome the significant

bias that DC residents hold against January 6 defendants.

   II. METHODOLOGY

       Triton Polling and Research (“Triton”) was founded in 2009 and is

headquartered in Bend, Oregon. Their “about us” page describes themselves as a

“full-service survey, polling and market research firm” whose “company’s client list
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includes organizations in countless industries throughout the nation, from Fortune

500 companies and statewide political campaigns to non-profit organizations to law

firms large and small.” See Tritonpolling.com (last visited July 1, 2024). Triton’s

live phone surveys are performed by agents located at their firm’s headquarters

outside of Portland, OR.

      Triton was commissioned to conduct a survey of 422 (four hundred and

twenty-two) Washington, DC residents about their knowledge surrounding the

events of January 6, 2021. In the survey, the residents polled explained how they had

developed opinions regarding the guilt of those who were present (whether charged

or not). Of the 422 participants polled, 288 (68.3%) conducted a live telephone

interview, with the remaining 134 (31.7%) participating via text. 100% of the

participants identified themselves as a resident of DC, with 416 (98.5%) identifying

as registered to vote. The remaining 1.5% (6 participants) have a DC driver’s license

or official identification card.

      The margin of error for this study at the 95% confidence level is +/- 4.8%.

This margin indicates the range within which we can reasonably expect the true

population’s parameters to fall. In this case, it suggests that if the survey were

conducted multiple times with different residents of the District of Columbia, the

results would likely vary within 4.8% of those reported in this study (90.2% to 99.8%

confidence that the poll is representative of the DC population).
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      Based on this margin of error, one could resolve each tested parameter in favor

of non-biasness and the results still heavily indicate bias against January 6

defendants.

   III.   QUESTIONS PERTAINING TO FAVORABILITY AMONG
          PARTICIPANTS REGARDING PRESIDENT TRUMP AS
          COMPARED TO BIDEN

      After gathering demographic information discussed above, Triton asked

participants to “please tell me if you have favorable or unfavorable views of the

following people in national politics.” When prompted about President Joe Biden,

150 residents (35.6%) had a “very favorable impression”, and 153 residents (36.2%)

had a “somewhat favorable impression” compared with 25 residents (5.8%) having

a “very favorable impression” and 16 residents (3.7%) having a “somewhat

favorable impression” of President Donald Trump. (See Top Line Results: Survey

of Washington, DC Jury Eligible Residents attached as Exhibit A at Questions 4-5).

      Combining the totals, 303 participants (71.8%) of this poll had either a “very

favorable” or “somewhat favorable” impression of President Biden, compared with

31 (9.5%) participants having the same towards former President Trump. It should

further be noted that a large majority of participants had a “very unfavorable

impression” of Trump (332 respondents / 78.6%), compared with 50 participants

(12%) having the same of President Biden. (See Top Line Results: Survey of

Washington, DC Jury Eligible Residents attached as Exhibit A at Questions 4-5).
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      Utilizing the above-described margin of error (+/- 4.8%), this poll shows that

between 67% to 76.6% of the DC population has a favorable or somewhat favorable

impression of President Biden, compared with between 4.7% to 14.3% of

respondents favoring Trump.

      This poll question indicates that a supermajority of the potential jury pool in

DC possesses preconceived favorable impressions for Biden, with a corresponding

supermajority having a very unfavorable impression of President Trump – raising a

significant inference of bias.

   IV.    QUESTIONS PERTAINING TO KNOWLEDGE AND THE
          UNIVERSAL AWARENESS OF THE EVENTS ON
          JANUARY 6, 2021.

      The poll then questions participants about their knowledge of January 6th.

First, the participants were asked “how much have you seen, read, or heard about

the events at the Capitol on January 6th, 2021?” (See Top Line Results: Survey of

Washington, DC Jury Eligible Residents attached as Exhibit A at Question 6). In

response, just under 90% of participants stated they “heard or seen a lot” (378

respondents, 89.7%).

      While it is acknowledged by the Defendant that many Americans have also

heard “a lot” of the extensive news coverage surrounding January 6 th, the same

cannot be said of 56.3% of participants who responded “yes” to the question of

whether they “were [] worried about your safety or the safety of someone you know
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because of the events of January 6, 2021”. (See Top Line Results: Survey of

Washington, DC Jury Eligible Residents attached as Exhibit A at Question 9).

      Overall, the key findings of the polling are that there is a universal

awareness of the events and coverage of January 6th, and that DC residents either

feared for their safety, or the safety of others based on that days events. Key

Finding # 1 of the survey is summed up as follows:

             A staggering 97.5% of those surveyed say they have
             “seen, read, or heard” a lot or just some about the events
             at the Capitol on January 6, 2021. What’s even more
             telling is that 89.7% answered “a lot.”

             We delved further into awareness and knowledge and
             asked about how much of the January 6 Select Committee
             hearings they had watched. Again, the numbers are
             overwhelming. 78.8% say they watched “a lot” or “just
             some” with a plurality (45.2%) saying “a lot.”

             It’s clear that the Washington, DC Jury Pool has been
             inundated with information about January 6 and has had a
             lot of time to form their own opinions on the events,
             defendants, and more.

(See Triton Polling & Research Change of Venue Survey attached as Exhibit B at
p. 1).


      Key Finding # 2 of the survey is summed up that “[b]eyond knowledge and

awareness, we asked respondents if they were “worried about your safety or the

safety of someone you know because of the events of January 6, 2021”. Well over

half, 56.3% of those surveyed said they feared for their safety or the safety of

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someone they know. Fear is one of our most base instincts and is nearly impossible

to set aside once you're confronted by it.” (See Triton Polling & Research Change

of Venue Survey attached as Exhibit B at p. 1).

        Common sense, how these events have played out over the last three years,

and this survey, make it clear that “[n]o other jury pool in the country will have felt

this type of fear for their safety as those in the District of Columbia.” (See Triton

Polling & Research Change of Venue Survey attached as Exhibit B at p. 2).

   V.     CHARACTERIZATIONS OF JANUARY 6, 2021 BY THE
          SELECT COMMITTEE

        The poll also asked participants “how much of January 6 Select Committee

hearings or clips of those hearings have you watched?” 45.2% stated they watched

“a lot” (191 participants), and a further 33.6% stated “just some” (142 participants).

(See Top Line Results: Survey of Washington, DC Jury Eligible Residents attached

as Exhibit A at Question 6).

        The January 6 House Select Committee hearings characterized January 6 as

an “attack on the United States Capitol”, in which “Donald Trump led an effort to

up end American democracy that directly resulted in the violence of January 6 th”.

(See Transcript of 9th January 6 committee at p. 68). When addressing partisanship

in his opening statement of the 9th select committee hearing, Congressman

Thompson stated that individuals should “let the facts speak for themselves … the


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evidence has proven that there were a multipart plan led by former President Donald

Trump to overturn the 2020 election.” (Id. at p. 2). He further states later in his

opening that “the facts and testimony are clear, consistent, and undisputed.” (Id. at

p. 3). When searching just this one transcript, the word “fact” is found 27 times as if

the findings of the Select Committee are indeed undisputed findings of fact. (Id.).

       In the Select Committee’s final report, the same assertions are made regarding

their findings as “fact” (which is mentioned 308 times). A search of the Select

Committee’s final report for “insurrection” yields 78 results including a statement

in a footnote that “The Select Committee Chart Compiling Defendant Statements is

not meant to be comprehensive or polished; it is a small sampling of the tremendous

work the Department of Justice has done tracking down and prosecuting criminal

activity during the attempted insurrection.” (See Select Committee Final Report at

p. 161)(Emphasis added). Indeed, the final report unequivocally characterizes the

January 6 incident as an “insurrection” and described – as a matter of fact – that “a

mob of angry insurrectionists attempted to violently upend a Presidential election”.

(Id. at p. 300).

       The Select Committee’s characterizations of January 6th as an “insurrection”

comprised of a “mob of angry insurrectionists” – of which 79% of participants of

the poll admitted to watching at least “some of” – being presented as findings of

“fact”, cannot be ignored as significant sources of extreme bias and partisanship
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that taints the DC jury pool and prevents January 6th defendants from obtaining a

fair trial.

    VI.       CHARACTERIZATIONS OF JANUARY 6 INCIDENT AND ITS
              ALLEGED PARTICIPANTS

        To further determine the level in which media coverage and the Select

Committee’s alleged findings of “fact” potentially tainted the DC jury pool,

participants were asked various questions regarding how they characterize January

6 and individuals involved in the incident.

        When asked to provide one word to “best describe[] the individuals who

participated in the events of January 6, 2021”, 116 (43.4%) answered

“insurrectionists”, 63 (14.9%) stated “domestic terrorists”, 55 (13%) replied

“criminals”, 49 (11.6%) replied “traitors”, and 42 (9.9%) described them as

“rioters”. (See Top Line Results: Survey of Washington, DC Jury Eligible Residents

attached as Exhibit A at Question 11). Combining the above responses, a whopping

92.8% characterize the individuals involved with January 6 in a negative manner,

compared with 4.1% (17 participants) who view them in either a neutral or positive

manner. A vast majority believe that Donald Trump is to blame for January 6th

(89.4%, 377 participants), and almost 70% believe that Donald Trump supporters

are racist. (69.4% / 239 participants). (See Top Line Results: Survey of Washington,

DC Jury Eligible Residents attached as Exhibit A at Question 12). Additionally,


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85.8% agree with the statement that “January 6th was an insurrection”, with only 2%

stating they weren’t sure or didn’t know. 80% further agree that “January 6th was an

act of domestic terrorism.” (See Top Line Results: Survey of Washington, DC Jury

Eligible Residents attached as Exhibit A at Question 13).

      The above-described characterizations of participants further indicate the

inability for Defendant Lang (and every other January 6 defendant) to enjoy a fair,

free, and unbiased trial in the District of Columbia based on facts found at trial (as

opposed to those based on the alleged findings of the Select Committee or as

reported on television reporting).

      It is inconceivable to believe that a jury comprised of 92.8% of individuals

who believe that January 6 was an “insurrection” can arrive at an unbiased decision

at trial after hearing testimony and being presented evidence associated with any

Defendants associated with January 6.

   VII. QUESTIONS REGARDING PREDETERMINED ASSUMPTIONS
        OF GUILT OF JANUARY 6 “PARTICIPANTS”

      The next series of questions were pertaining to the participants’ preconceived

notions regarding guilt and punishment for those involved on January 6th. An

astounding 48% of participants believed that a fair punishment “for anyone who

participated in any of the events of January 6” was life imprisonment or death, with

68.8% of respondents agreeing that “anyone who participated in the events at the


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Capitol on January 6 should serve prison time.” (See Top Line Results: Survey of

Washington, DC Jury Eligible Residents attached as Exhibit A at Question 16). To

be clear – neither of these questions were specific to those charged, rather, they were

generally speaking about those who “participated” in January 6. This should create

a clear inference that the DC jury pool has already unfairly predetermined that

anyone associated with January 6 deserves severe punishment, further buttressing

the Defendant’s argument that he cannot have a fair trial in the District of Columbia.

   VIII. SUMMARY

      The foregoing data demonstrates the participants' favorability ratings towards

President Biden or the democratic nominate and former President Trump,

highlighting a strong bias in favor of Democrats among DC residents. Questions

about knowledge of the events on January 6th reveal a high level of awareness

among participants, and Triton’s polling suggests that media coverage and

statements from the January 6 Select Committee have contributed to bias.

      The majority of those polled view anyone who allegedly participated in

January 6th negatively, with terms like "insurrectionists", "domestic terrorists," and

"traitors" being common. The characterization of January 6 as an "insurrection" and

"act of domestic terrorism" by the Select Committee, which was widely viewed by

the potential DC jury pool and repeated throughout the news cycles, cannot be

remedied by even the most carefully executed voir dire.
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      Questions regarding predetermined assumptions of guilt show that a

significant portion of participants believes severe punishment, including life

imprisonment or death, is appropriate for anyone involved in the events of January

6. These predetermined assumptions further support the Defendant's claim that a fair

trial cannot be conducted in the District of Columbia.

      In summary, the Defendant argues that the study's results demonstrate

pervasive bias among DC residents, influenced by media coverage and statements

from the January 6 Select Committee, making it impossible for him to receive a fair

trial in the District of Columbia.

      It is for the foregoing reasons that this Court must order a change of venue for

the Defendant to receive a fair trial by an unbiased jury of his peers.



Dated: August 12, 2024                  Respectfully Submitted,

                                        /s/ Steven Alan Metcalf II
                                        _______________________________
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                          CERTIFICATE OF SERVICE

I HEREBY CERTIFY that a copy of the foregoing has been served upon counsel
for all parties to this proceeding as identified below through the court’s electronic
filing system as follows:


                                              /s/
                                        ___________________________
                                        STEVEN A. METCALF II
                                        Attorney for Edward Jacob Lang
  Dated: August 15, 2024




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